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THE SUPREME COURT OF WASHINGTON

IN THE MATTER OF THE ) SUSPENSION ORDER
)
ADMINISTRATIVE SUSPENSION OF ) SUPREME COURT
) NO. 201,854-8
ATTORNEYS FOR FAILURE TO COMPLY _)
)
WITH 2019 LICENSING REQUIREMENTS __ )

 

Pursuant to the Rules for Enforcement of Lawyer Conduct (ELC), specifically ELC
15.5(b), and Admission and Practice Rules (APR) 11, 17 and 26, and the Bylaws of the
Washington State Bar Association (WSBA), the WSBA Interim Executive Director filed a
recommendation that the 139 lawyers named therein be suspended from the practice of law for
failure to comply with one or more of the 2019 licensing requirements: payment of licensing
fees and assessments (APR 17(a)(2)(A), WSBA Bylaws Art. III Sec. 1.3; failure to file a trust
account declaration (ELC 15.5(b), APR 17(a)(2)(E); failure to file a professional liability
insurance disclosure form (APR 26(c), APR 17(a)(2)(D); and failure to comply with mandatory
continuing legal education requirements (APR 11(c) and (i), APR 17(a)(2)(C). The Interim
Executive Director’s recommendation states that the WSBA delivered 60 days’ written notice to
each of the named lawyers at their last known address of record by certified mail on March 8,
2019. The recommendation also certifies that the list of lawyers named therein is correct based
upon the records of the WSBA.

The Court is satisfied that the following named lawyers have not complied with the 2019
licensing requirements and that they were given the required pre-suspension notice by certified
mail.

IT IS ORDERED:

The following named lawyers are administratively suspended from the practice of law in
the State of Washington for failure to comply with the 2019 licensing requirements as specified

below:
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Page 2
ORDER
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License # | Name Reason(s)
831 Roland L. Hjorth Licensing
Fees
977 Vincent A. Retacco Licensing | Insurance | Trust
Fees Account
1460 Richard Francis Jones Licensing
Fees
2409 Daniel Boone Allison II Licensing
Fees
2817 James Michael Caraher Licensing | Insurance | Trust
Fees Account
2948 John Franklin Sherwood Insurance | Trust
Account
2994 James Christopher Sloane | Licensing
Fees
3893 David Whipple Wyckoff Licensing
Fees
4220 Rick Smith Jr. Licensing | Insurance | Trust
Fees Account
4303 Ronald C. Wilkinson Licensing
Fees
5091 Lonnie G, Davis Licensing
Fees
5371. Robert Gene Taylor Licensing
Fees
5387 Paul Gerrit Van Wagenen | Licensing
Fees

 

 

 

 

 

 

 

 
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Page 3
ORDER _
201,854-8
License # | Name Reason(s)
6237 John Rolfing Muenster Licensing | Insurance | Trust
Fees Account
6598 Conrad Oliver Gardner Licensing
Fees
7617 Gary Ross Duvall Licensing
Fees
7688 David John Lenci Licensing | Insurance | Trust
Fees Account
8563 John W. Schedler Licensing
Fees
8742 Thomas A. Haven Licensing
Fees
9403 Scott Lee Schmidtman Licensing
Fees
LLiz3 Christopher C. Meleney Licensing
Fees
11354 Richard T, Platt Licensing
Fees
11441 Brent Eric Anderson .| Licensing
Fees
12423 James J. Sullivan Licensing | Insurance | Trust
Fees Account
T3132 Ann Louise Lange Licensing | Insurance | Trust
Fees Account
| 14085 Timothy Shane O'Neill Licensing | Insurance | Trust MCLE
Fees Account
14553 Michael K. Taylor MCLE

 

 

 

 

 

 

 

 
 

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Page 4
ORDER
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License # | Name Reason(s)
14870 Edward Neil Ramras Licensing | Insurance | Trust MCLE
Fees Account
15371 Mary Forrestal O'Boyle Licensing | Insurance MCLE
Fees
15939 Robert H. Rowan Licensing | Insurance | Trust MCLE
Fees Account
16585 David B. Adler Licensing | Insurance | Trust
Fees Account
16844 Sherry Hemming Rogers Licensing | Insurance | Trust MCLE
Fees Account
16945 Moni Trenise Law Licensing
Fees
T7575 Kevin Walsh Quigley Licensing
Fees
17684 Patrick J. Lakey MCLE
17985 Barry W. Brandon Licensing MCLE
Fees
18049 Timothy Milton Hanstad Licensing
Fees
18304 Nathan Harry Douglas Licensing
Fees
18375 Anne Johnson Kenefick Licensing
Fees
18442 Raymon Eustace Thomas | Licensing
Fees
18907 Michael W. Furtado Licensing

 

 

Fees

 

 

 

 

 
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Page 5
ORDER
201,854-8
License # | Name Reason(s)
19024 Joy R. Pearl Licensing
Fees
19372 Colleen Andrea Licensing | Insurance | Trust MCLE
Christensen Fees Account
19411 Marjorie R. Gregg Licensing
Fees
19822 Polly Becker MCLE
19873 Thomas G. DeLong Licensing
: Fees
19906 John Joseph Gregory Licensing
Fees
20436 Stephen Henry Good Jr. Licensing | Insurance | Trust
Fees Account
20740 Neil Leavitt Licensing
Fees
22959 Andrea McNamara Doyle MCLE
23071 Della J. Moore Licensing | Insurance | Trust MCLE
Fees Account
23382 Stephen J, Brooks Licensing
Fees
24335 Henry J. Knies Licensing
Fees
24401 Claudia Marie Balducci Licensing
Fees
24709 Robert E. Scott Licensing

 

 

 

 

Fees

 

 

 

 

 
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Page 6
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201,854-8
License # | Name Reason(s)
24840 Steven Henry Larrabee Licensing
Fees
25044 Robert B. Hanson Licensing
Fees
25450 Gary N. Mager Licensing
Fees .
25807 Michael B. Cahill Licensing
Fees
25867 Harold W. Peterson Licensing
Fées
26110
Mark R. Stephens Licensing
Fees
26412 Aaron K. Benevich Licensing | Insurance | Trust MCLE
Fees Account
. 26431 D.C. Peter Chu Licensing | Insurance | Trust MCLE
Fees Account
26731 John Francis Russo Licensing
Fees
26977 Stanley N. Protigal Licensing
Fees
27120 Anthony Frey Licensing
Fees
Z1310 Jerrilynn Hadley Licensing
Fees
27328 \ C. Edward Adams Licensing
Fees

 

 
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Page 7
ORDER
201,854-8
License # | Name Reason(s)
27349 James P.F. McLaughlin Licensing | Insurance | Trust
Fees Account
28522 Jarrett Todd Bostwick Licensing
Fees
29356 Cherilyn Gayle Church Insurance | Trust MCLE
Account
29968 Robyn Y. Friedman Licensing | Insurance | Trust
Fees Account
30583 Robin J. Williams Licensing
Fees
31096 Sara S. Bowen Licensing | Insurance | Trust
Fees Account
31121 Ronald C. Mitchell Licensing
Fees
31274 Susan Lee Walberg Licensing
Fees
31492 Mark Anthony Wheeler Licensing | Insurance | Trust
Fees Account
31542 Leslie Louise Lewallen Licensing
Fees
31933 Brian J. Bova Licensing
Fees
31964 Heather R. Self Licensing
Fees
/
31970 Ryan Michael Garvey Licensing
Fees
32182 Devra D. Featheringill MCLE

 

 

 

 

 

 

 

 
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Page 8
ORDER
201,854-8
License # | Name Reason(s)
32187 Joseph T. Hagen Insurance | Trust MCLE
Account
32313 Sooaa Yoo MCLE
32489 Vaughn E. Bunch Licensing
Fees
32776 Daniel Louis Dvorkin Licensing | Insurance | Trust MCLE
Fees Account
33248 Jennifer C. Mackay MCLE
33285 Sheri L. Deterling MCLE
33294 Jerry J. Davis MCLE
33581 Grant D. Wenzlick Licensing | Insurance | Trust
Fees Account
33968 Joseph W. Ransiear Licensing
Fees
34564 David Rosenberg Licensing
Fees,
34594 Douglas N. Woods Licensing | Insurance | Trust
Fees Account
36407 Penelope Olga Green Insurance | Trust
Account
36654 Richard A. Laws Licensing | Insurance | Trust MCLE
Fees Account
36734 Ryan Neal Licensing | Insurance | Trust MCLE
Fees Account
36898 Peter William Choquette Insurance | Trust MCLE
Account

 

 
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ORDER
201,854-8
License # | Name Reason(s)
37102 Steven J. Contos Licensing
Fees
37130 Josephine Hsin-Min Lai Licensing | Insurance | Trust MCLE
Fees Account
37372 Rosemary C. Lumpkins Licensing
Fees
37501 Patrick G. Rowe Licensing | Insurance | Trust
Fees Account
37646 Christian K. Kim Licensing
Fees
38332 Mark Richard McLean Licensing | Insurance | Trust
Fees Account
38340 Shelley R. Miller Licensing | Insurance | Trust
Fees Account
38565 Christopher Z. Wade Licensing
Fees
38728 David Loren Tuttle Licensing
, Fees
39173 Stephanie Ann Garabedian Licensing
Fees
39965 —_| Bruce Morse Larsen Licensing | Insurance | Trust MCLE
Fees Account
39997 Cherry Lee Davis Licensing | Insurance | Trust MCLE
Fees ; Account
40426 Christy C. Kunin Licensing | Insurance | Trust MCLE
Fees Account

 

 

 

 

 

 

 

 
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ORDER
201,854-8
License # | Name Reason(s)
41049 Peter Boyd Wilburn Licensing | Insurance | Trust MCLE
Fees Account
41217 Travis McLeod Joyner Licensing | Insurance | Trust
Fees Account
41250 Jason M. Zittel Licensing | Insurance | Trust
Fees Account
41316 Michael $8. Kenway Licensing
Fees
41577 Christopher Philippides Licensing
Fees
41672 Richard J. Welt Licensing | Insurance | Trust
Fees Account
42409 Sara Kelly Licensing | Insurance | Trust
Fees Account
44688 Lyra Dorothy Myers Licensing | Insurance | Trust
Fees Account
45737 Kathryn Anne Kuhlenberg | Licensing
Fees
45817 Jason Rene Jones Licensing
Fees
47915 Brian Michael Lebsock Licensing | Insurance | Trust
Fees Account
48182 Ryan Matthew Pesicka MCLE
48383 Blake Alan Robertson Licensing | Insurance j Trust MCLE
Fees Account
48417 Hillary Dione Mace Licensing | Insurance | Trust MCLE
Fees Account

 

 

 

 

 

 

 

 
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ORDER
201,854-8
License # | Name Reason(s)
49019 ° | Homan Faghihi-Naraghi Licensing
Fees
49177 Adam Bloom Licensing
Fees
49209 Aisha Satooka Sanchez Licensing | Insurance | Trust
Fees Account
49308 Chris Patrick Livingston Jr. | Licensing | Insurance | Trust
Fees Account
49523 Patty L. Wisecup Licensing | Insurance | Trust
Fees Account
50299 Andrew Nathan Pierce ‘| Licensing | Insurance | Trust
Fees Account
50431 Margaret Roth Riley Licensing | Insurance | Trust
Fees Account
50689 Philip Huang Licensing | Insurance | Trust
Fees Account
51023 Laura Hoopis Licensing | Insurance | Trust
Fees Account
51434 Amelia Ostholthoff Licensing | Insurance | Trust
Fees Account
51616 Brianna Kranz Licensing | Insurance | Trust
Fees Account
51687 Martin Prybylski Esq Licensing | Insurance | Trust
Fees Account
52352 Harold R. Kyles Licensing | Insurance | Trust
Fees Account
52509 James Dongjoon Lee Licensing | Insurance | Trust
Fees Account

 

 

 

 

 

 

 

 
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ORDER

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License # | Name Reason(s)

53460 Michael George Lewis Licensing | Insurance | Trust
Fees Account

 

 

 

 

 

 

 

 

The effective date of suspension is the date of this order, The Washington State Bar
Association is directed to notify each of the named lawyers of their suspension from the practice
of law for failure to comply with 2019 licensing requirements.

DATED at Olympia, Washington this Sth aay of May, 2019.

For the Court

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CHIEF JUSTICH

 
